

People v Burgos (2021 NY Slip Op 03121)





People v Burgos


2021 NY Slip Op 03121


Decided on May 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 13, 2021

Before: Renwick, J.P., Manzanet-Daniels, Kennedy, Shulman, JJ. 


Ind No. 3223/18N Appeal No. 13831 Case No. 2019-04588 

[*1]The People of the State of New York, Respondent,
vGregorio Burgos, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Danielle Krumholz of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Molly Morgan of counsel), for respondent.



Judgment, Supreme Court, New York County (Steven Statsinger, J.), rendered September 8, 2019, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the third degree, and sentencing him to a term of four years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the prison component of the sentence to a term of two years, and otherwise affirmed.
We find the sentence excessive to the extent indicated. The record does not sufficiently establish a valid appeal waiver. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 13, 2021








